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               9
                    Attorneys for Defendant Facebook, Inc.,
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           12                                    UNITED STATES DISTRICT COURT
                                               NORTHERN DISTRICT OF CALIFORNIA
           13                                       SAN FRANCISCO DIVISION

           14

           15      IN RE: FACEBOOK, INC. CONSUMER PRI-           CASE NO. 3:18-MD-02843-VC
                   VACY USER PROFILE LITIGATION,
           16                                                    SUPPLEMENTAL DECLARATION OF
                                                                 DEBORAH STEIN IN SUPPORT OF
           17      This document relates to:                     FACEBOOK, INC.’S SUPPLEMENTAL
                                                                 STATEMENT IN SUPPORT OF
           18      ALL ACTIONS                                   PLAINTIFFS’ ADMINISTRATIVE
                                                                 MOTION TO CONSIDER WHETHER
           19                                                    ANOTHER PARTY’S MATERIALS
                                                                 SHOULD BE SEALED
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                   SUPPLEMENTAL DECLARATION OF DEBORAH STEIN IN SUPPORT OF FACEBOOK, INC.’S SUPPLEMENTAL
Gibson, Dunn &       STATEMENT IN SUPPORT OF PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER AN-
Crutcher LLP
                                        OTHER PARTY’S MATERIALS SHOULD BE SEALED
                                                   CASE NO 3:18-MD-02843-VC
                          Case 3:18-md-02843-VC Document 1041-2 Filed 09/02/22 Page 2 of 3


               1             I, Deborah Stein, hereby declare as follows:
               2             1.        I am a partner at the law firm of Gibson, Dunn & Crutcher LLP, counsel of record for
               3
                   Facebook, Inc. (“Facebook”) in the above-captioned matter. I am a member in good standing of the
               4
                   State Bars of California and New York. I submit this declaration in support of Facebook’s Statement
               5
                   in Support of Plaintiffs’ Administrative Motion to Consider Whether Another Party’s Materials Should
               6

               7   Be Sealed. I make this declaration on my own knowledge, and I would testify to the matters stated

               8   herein under oath if called upon to do so.

               9             2.        Attached as Exhibit 140-A, 141-A, and 142-A is a true and correct unredacted copy
           10
                   Plaintiff’s Exhibits 140, 141, and 142.
           11
                             3.        Attached as Exhibit 140-B, 141-B, and 142-B is a true and correct unredacted copy
           12
                   Plaintiff’s Exhibits 140, 141, and 142.
           13
                             4.        Facebook proposes redacting confidential and competitively sensitive information re-
           14

           15      garding its business programs, strategies, decisions, and partners. 1 This information includes confi-
                                                                                        0F




           16      dential strategic discussions regarding Facebook’s existing and potential future business models and
           17      strategies. I am informed and believe that public disclosure of confidential information regarding Fa-
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                   cebook’s business models could allow Facebook’s competitors to use this information developed at
           19
                   Facebook’s expense to improve or develop their own competing techniques, to Facebook’s competitive
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                   disadvantage. Additionally, I am informed and believe that public disclosure of confidential infor-
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           22      mation regarding Facebook’s business strategies could allow Facebook’s competitors to copy these

           23      strategies, developed at Facebooks expense, to more effectively compete with Facebook.

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                       Ex. 141 at 6.
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                                                                         1
                   SUPPLEMENTAL DECLARATION OF DEBORAH STEIN IN SUPPORT OF FACEBOOK, INC.’S SUPPLEMENTAL
Gibson, Dunn &       STATEMENT IN SUPPORT OF PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER AN-
Crutcher LLP
                                        OTHER PARTY’S MATERIALS SHOULD BE SEALED
                                                   CASE NO 3:18-MD-02843-VC
                          Case 3:18-md-02843-VC Document 1041-2 Filed 09/02/22 Page 3 of 3


               1             5.        Facebook also asks the Court to permanently seal certain confidential information re-
               2   garding Facebook employees, specifically, employee email addresses., to protect the privacy of those
               3
                   employees. 2   1F




               4

               5
                             I declare under penalty of perjury under the laws of the United States of America that the fore-
               6

               7   going is true and correct.

               8

               9   Executed on September 2, 2022 in Los Angeles, California.
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           12                                                                      /s/ Deborah Stein
                                                                                  Deborah Stein
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                       Ex. 140 at 6; Ex. 142 at 1.
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                   SUPPLEMENTAL DECLARATION OF DEBORAH STEIN IN SUPPORT OF FACEBOOK, INC.’S SUPPLEMENTAL
Gibson, Dunn &       STATEMENT IN SUPPORT OF PLAINTIFFS’ ADMINISTRATIVE MOTION TO CONSIDER WHETHER AN-
Crutcher LLP
                                        OTHER PARTY’S MATERIALS SHOULD BE SEALED
                                                   CASE NO 3:18-MD-02843-VC
